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                                                                S/WAR "H DIV.

                IN THE UNITED STATES DISTRICT COURT FOR            |g
                   THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                                Case No.   CR416-353


LAMETHEUS DOUGLAS,


                   Defendant,




UNITED STATES OF AMERICA,


V.                                                Case No.   CR417-90


MICHAEL ANDERSON,


                   Defendant,




                                  ORDER


      Amy Lee Copeland, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.             The Court is

mindful that personal and professional obligations require the

absence    of    counsel   on   occasion.   The    Court,    however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall
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